
Dykman, J.
—The object of this action was to obtain a judicial settlement of the accounts of the plaintiffs as surviving executors and trustees under the last will and testament of William T. Garner, deceased, down to the 80th day of June, 1886, and also to obtain a judicial determination of the compensation *1009to be made to the plaintiffs as such trustees for services performed by them under the will.
The plaintiffs succeeded in their purposes and a judgment was entered which settled and closed their accounts down to the date named, and awarded to each of the plaintiffs the sum of $5,000 a year for their compensation.
There is no objection lodged against the part of the judgment which adjusts the accounts, but an appeal has been taken from the portion which awards the compensation to the plaintiffs.
We consider the appeal without merit. The plaintiffs have been zealous and successful in the management of the vast estate and the extensive interests committed to their charge. The services they are required to perform are exceedingly laborious, and the responsibilities resting upon them at all times are veiy great, and they have made a record which entitles them to the favorable consideration of the court, and merits commendation and compensation. They have been so clear in their great office and manifested such fidelity to the trust and confidence reposed in them by their testator that a repudiation of their claims to pecuniary recognition would be oppressive and unjust.
The portion of the judgment appealed from should be affirmed, with costs.
Pratt, J., concurs. Barnard, P. J., not sitting.
